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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

         ------------------------------X Docket#
         UNITED STATES OF AMERICA,     : 18-cv-06369-MKB-PK
                         Plaintiff,    :
                                       :
              - versus -               : U.S. Courthouse
                                       : Brooklyn, New York
                                       :
                                       :
         UBS SECURITIES LLC, et al.,   : July 1, 2019
                         Defendants    : 12:02 PM
         ------------------------------X

                   TRANSCRIPT OF CIVIL CAUSE FOR CONFERENCE
                        BEFORE THE HONORABLE PEGGY KUO
                        UNITED STATES MAGISTRATE JUDGE
         A    P    P    E     A    R    A     N    C   E     S:


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    1                THE CLERK:    This Honorable Magistrate Judge

    2   Peggy Kuo presiding.

    3                Civil Cause for a Motion Hearing, docket number

   4    18-cv-6369, USA v. UBS Securities, LLC, et al.

    5                Counsel, please state your name for the record,

   6    starting with the plaintiffs.

   7                 MR. HAYES:    Good morning, your Honor.

    8                Richard Hayes, Assistant United States Attorney

    9   for the United States, and together with me today are

  10    colleagues from the Eastern District, as well as the

  11    Northern District of Georgia, Mr. Castiglione, Michael

  12    Castiglione, is next to me, Ms. Bonni Perlin, Mr. Austin

  13    Hall, and Armen Adzhemyan.

  14                 MR. GIUFFRA:     Good afternoon, your Honor.          I

  15    think it's the afternoon, your Honor.

  16                 Robert Giuffra with Sullivan & Cromwell for the

  17    UBS defendants, and with me is my partner, Justin DeCamp,

  18    Hillary Williams, and Phil Begler (ph.), who is not

  19    admitted but I want to just put him on the record anyway.

  20                 THE COURT:    All right.     Good afternoon,

  21    everyone.

  22                 So we are having this conference to talk about

  23    a dispute with regard to discovery in which the defendant

  24    is asking the U.S. government to preserve certain

  25    documents.




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    1               I will start with the document at 54 where

    2   plaintiffs have asked for the reply to be stricken.                So I

    3   am just going to explain to the parties what my

   4    procedures are.

    5               My rules clearly stated that for discovery

    6   disputes, there should be a filing of no longer than

    7   three pages, which the parties complied with, and that's

    8   great.   And normally, I should let you know since this

    9   litigation is likely to go on for a while, I will not

  10    make a ruling on discovery without speaking to the

  11    parties first.     So there's really no reason to file

  12    anything in addition because you should be making your

  13    best case in those three pages, and if there's any

  14    ambiguity or you need to respond, you should be -- I will

  15    give you the opportunity to do so orally.

  16                I don't want to encourage a situation where the

  17    parties are just papering the Court with a lot of

  18    filings.    I will read them if you file them but it

  19    doesn't do anybody any good to do that.            Okay?

  20                So in this case, I will deny the motion to

  21    strike because it's the first time this has happened, and

  22    I trust that it won't happen again in terms of asking for

  23    leave to file something that's attached without asking

  24    for leave first, and I will give the plaintiff the

  25    opportunity to respond today with whatever arguments you




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    1   want to make.

    2               So let me see if I can understand what is

    3   happening in this case.        The defendants are asking that

    4   there be a certain group or four different groups of

    5   relevant documents at the Department of Housing and Urban

   6    Development and Treasury to be produced and preserved.

    7   They're alleging that the plaintiff has conceded that

    8   that's -- it's all one big, happy federal government, and

    9   I am understanding from the plaintiff they have not

  10    conceded that.     And so that's one of the arguments that

  11    we're -- that I will consider today but let me try to

  12    understand what's at issue ultimately in making that

  13    choice.

  14                So, Mr. Giuffra, let me find out from you what

  15    difference does it make if this is a Rule 34 request or

  16    whether you're making a -- whether you're serving a

  17    subpoena to get the documents.

  18                MR. GIUFFRA:      Well, your Honor, we think if

  19    serve a subpoena, number one, in terms of just

  20    enforceability, a party has to respond to a subpoena.

  21    Whereas with respect to a nonparty, in the case of the

  22    government, it would only be the head of an agency.

  23                In addition, there are obligations that go to

  24    spoliation.     If you're a party and you have documents and

  25    you spoliate them versus a nonparty.




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    1               We can also serve certain types of discovery on

    2   a party.    In this particular case, obviously we've gone

    3   through the public record to try to find documents but

    4   there may be a need to serve interrogatories, for

    5   example, about audits that were conducted by HUD into the

    6   same loan originators that UBS conducted due diligence

   7    of.

    8               There are also issues with respect to

    9   admissibility in terms of admissions -- excuse me, not

  10    admissibility, admissions under 801(d)(2).              Obviously,

  11    you know, statements made by a party are treated as

  12    admissions.     So is HUD a party is obviously an issue that

  13    would be relevant.

  14                And so when courts have looked at this issue,

  15    and I can talk about it if you would like me to, I think

  16    they've taken the position that in a civil case, you

  17    know, the other side is calling them the United States of

  18    America, not the Northern District of Georgia and the

  19    Eastern District United States Attorney's Office.               It's

  20    the United States of America.          And --

  21                THE COURT:     That's just the naming convention.

  22                MR. GIUFFRA:      Yes, but I think but not only is

  23    it a naming convention, no but courts have recognized

  24    that when you're dealing with nonindependent agencies

  25    like the SEC, they're treated as part of the plaintiff in




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   1    a civil case.

    2               The other side, when they -- in their

    3   opposition papers, referenced a whole series of criminal

    4   cases, and cases interpreting the criminal discovery

    5   rules.   Those rules have no bearing in a civil case,

   6    which is what this is.

    7               And when you actually look at the civil cases

    8   that the other side cites, you know, we obviously rely

    9   upon the AT&T case which is we think the leading case.

  10                THE COURT:     But what other cases are there,

  11    other than AT&T from 1978?

  12                MR. GIUFFRA:      Well, in this circuit, United

  13    States v. Amex is a second -- is a case from the Eastern

  14    District which cited AT&T favorably and applied the

  15    reasoning of AT&T.

  16                THE COURT:     But Amex was about the State

  17    Attorney General's Office --

  18                MR. GIUFFRA:      Correct.

  19                THE COURT:     -- versus the State agency

  20    controlled by the Governor.

  21                MR. GIUFFRA:      But I think the rationale

  22    applies.    And then we cited cases like Senkowski, which

  23    is from the Southern District of New York, treating

  24    departments of an executive branch is considered a single

  25    party.




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    1               Then if you just look at the cases that the

   2    government cites --

    3               THE COURT:     Yeah, I know those are criminal

   4    cases but I am looking for --

    5               MR. GIUFFRA: No, but they also cite civil

    6   cases.   They cited two civil cases, one which is called

    7   Deane, D-E-A-N-E, involving the Health and Human Services

    8   Corporation from the Eastern District of Louisiana,

   9    citing, in that case, permitted discovery of HHS.

  10    Another case called Davis, permitting discovery against -

  11    - involving the EPA.

  12                And the two civil cases that the government

  13    cites which is Texas v. Holder, the party was the

  14    Attorney General, not the United States of America, and

  15    then they cited an SEC case which is an independent

  16    agency, and HUD and Treasury are clearly not independent

  17    agencies.

  18                So we think the reasoning and rationale of the

  19    AT&T case is squarely on point, particularly here, given

  20    the nature of what the government is seeking.              This is a

  21    case where the government is seeking -- claims billions

  22    of dollars in losses on transactions we engaged in.

  23                THE COURT:     What I am looking for is any case

  24    since AT&T that's on point for your side.             I know you've

  25    cited the Amex case.       I've read it.      I've told you why I




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    1   think it's different.       Is there any other case that

    2   supports your position?

    3               MR. GIUFFRA:      I think I cited a case -- another

    4   case would be Talavera v. Shah, that's a case dealing

    5   with, you know, statements of USAID employees being

   6    admissible as party admissions under Rule 801(d)(2)(D).

   7    That's 638 F.3d 303 (2011).

    8               THE COURT:     Right, but it doesn't have to do

    9   with what you're asking for here, which is a preservation

  10    order to an agency.

  11                MR. GIUFFRA:      Well, I think it does in that --

  12    but I think the AT&T case is directly on point.              It's a

  13    similar type case --

  14                THE COURT:     But I guess I hear you on that but

  15    I am looking for some other court that has -- maybe

  16    they're not published decisions but some other court that

  17    has looked at AT&T since then and said yes, this

  18    absolutely makes me issue a preservation order against an

  19    agency other than the United States Attorney's Office or

  20    whoever brought, well I guess in this case, let's call it

  21    the Justice Department, okay?          So against an agency other

  22    than the Justice Department in an enforcement action like

  23    this that's civil.

  24                So it may be that there aren't any but --

  25                MR. GIUFFRA:      I think, your Honor, the Deane




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   1    case that I mentioned --

   2                THE COURT:     All right.

    3               MR. GIUFFRA:      -- Deane v. Dynasplint Systems,

   4    Inc., (2015) W.L. 1638022, Eastern District of Louisiana.

    5   That's a false claim, civil case, by the United States

    6   against the healthcare provider.           The government sought

    7   to produce documents that were in the possession of the

    8   Center for Medicare and Medicaid Services, and from HHS.

    9               And then the question was well what is the

  10    scope of the custody and control of the government.                And

  11    does it exceed the Department of Justice because the

  12    Department of Justice was acting as the counsel for the

  13    government in that case.

  14                And the government viewed the term, you know,

  15    "you" to include -- I mean, not the government, the

  16    judge, granted the party's motion, and said that the

  17    government included the Department of Health and Human

  18    Services, as well as --

  19                THE COURT:     Was that a case where the Justice

  20    Department was acting as the lawyer for HHS and the

  21    Medicaid/Medicare, or were they bringing --

  22                MR. GIUFFRA:      It was like this case, because in

  23    a false claims act suit, the Department of Justice brings

  24    a civil claim, just like it is bringing you a civil claim

  25    under FIRREA in this case.         So there's no difference --




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    1                THE COURT:     Okay.

    2                MR. GIUFFRA:     -- between the procedural posture

    3   between the two cases, and it's also important to keep in

    4   mind that in case, and I think it is -- we're not seeking

    5   documents from the entire U.S. government.              We're seeking

    6   documents from HUD and Treasury, and both of those

    7   agencies were part of the RMBS task force that was set up

    8   by the government to look into the whole question of

    9   whether there was, you know, misconduct with respect to

   10   RMBS.   And in other settlements, the government in press

   11   releases has identified HUD employees as being involved

   12   in the investigations.

   13                Now I again don't think that, you know, whether

   14   HUD is part of the investigation or isn't part of the

   15   investigation is the controlling fact.             I think the

   16   controlling fact is that this is a civil case, it's not a

   17   criminal case, and the idea that we should just put on

   18   blinders, and say that, you know, it's only the documents

   19   that the United States Attorney's Office's collect

   20   because that's the position they've actually taken.

   21                THE COURT:     Well, I think it's the Justice

   22   Department, right?

   23                MR. GIUFFRA:     No, they actually have --

   24                THE COURT:     Okay.    Well, I will clarify from

   25   them what they --




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    1                MR. GIUFFRA:     And I mean one of the things, and

    2   this is not before the Court today but for the last four

    3   or five months, we've been asking for documents that the

    4   Department of Justice has collected related to RMBS, loan

    5   originators that UBS dealt with, documents that related

    6   to, you know -- in this case, one of the big issues is

    7   that a number of the supposed defrauded investors, bought

    8   UBS, RMBS, were themselves sued by the Department of

    9   Justice, and at least -- and would have been

   10   investigated, as well.

   11                So the government is taking the position that

   12   well, to the extent that we didn't rely on those

   13   documents to file our complaint, we're not going to give

   14   you access to them.

   15                THE COURT:     We meaning the government?

   16                MR. GIUFFRA:     Yes.

   17                THE COURT:     Okay.    So they're taking the

   18   position in a civil case that their discovery obligations

   19   are only -- are limited to the Eastern District of New

   20   York, and the Northern District of Georgia, and they're

   21   taking the position that well, if they accessed other

   22   documents collected by the Justice Department, and they

   23   looked at them to do their complaint, they'll give us

   24   access to them, but that's not the way discovery works in

   25   a civil case.




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    1                Clearly, they're looking for inculpatory

    2   documents.     We're looking for exculpatory documents.              And

    3   to the extent documents were collected by other parts of

    4   the Justice Department relating to UBS, these RMBS

    5   transactions, parties that we dealt with, originators

    6   that we dealt with, those documents need to be looked at.

    7                THE COURT:     Um-hum.

    8                MR. GIUFFRA:     So that's not the issue before

    9   the Court today.      The issue before the Court today is

   10   really the question of whether, you know, documents

   11   related to HUD and Treasury should be looked at.               And one

   12   of the things that happened in this matter was we had

   13   multiple meet and confers.         We thought they had conceded

   14   that HUD and Treasury were part of the United States.                 We

   15   wrote, you know, three letters.

   16                THE COURT:     Well, I mean part of the plaintiff.

   17                MR. GIUFFRA:     Part of the plaintiff, and they

   18   never responded to the letters, but the letters certainly

   19   took that position.       They now, you know, in their

   20   opposition letter to our motion to compel, took a

   21   different position, fine, that that can happen.

   22                THE COURT:     Well, I would suggest that the

   23   parties communicate better in that instance.              I don't

   24   think that especially at this early stage, a failure to

   25   respond to a particular point is an admission.               I don't




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    1   think that's a good way to litigate a case.

    2                MR. GIUFFRA:     And we wrote three letters.           And

    3   they never wrote back, and said that our understanding

    4   was wrong.     But I think the bigger point is this dispute

    5   has been going on for at least three months.              And when

    6   the plaintiff asked us, well, what's the basis for your

    7   reasoning that you think that HUD and Treasury has

    8   documents, we -- you know, we provided them, and I am

    9   happy to give the Court, we have a list -- we have a

   10   whole packet of documents that we've gotten from just

   11   public materials, that we think are directly relevant to

   12   the issues in this litigation.

   13                I mean one of the most important issues is that

   14   the Federal Housing Administration provide an assurance

   15   to Countrywide, and a number of other loan originators,

   16   and that insurance was only given pursuant to -- you

   17   know, they had to do certain analysis to determine

   18   whether originators were proper originators or not.

   19                One of the allegations in the complaint is

   20   that, you know, UBS falsely told investors that it only

   21   dealt with reputable originators.           Well, the originators

   22   that UBS was dealing with were the same originators that

   23   the plaintiff through HUD was dealing with.              And so I

   24   think at a trial, the fact that HUD was insuring, and

   25   auditing the same originators that UBS was dealing with




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    1   is highly relevant.

    2                In addition, I think this is, you know, I think

    3   very important evidence.         HUD was doing audits for

    4   purposes of this FHA insurance of, for example,

    5   Countrywide.     Countrywide provided the loans for 14 of

    6   the 45 -- 40 RMBS transactions that are at issue in this

    7   case.   HUD was doing, you know, its audits.             It was

    8   looking at loans at bank branches and the like, and they

    9   were seeing some defects and problems, missing documents,

   10   and they were still concluding that for purposes of HUD,

   11   these originators were complying with HUD guidelines.

   12                Well -- and in fact, in doing the HUD audits,

   13   HUD was looking at loans that they thought were the less

   14   good loans. Well, that's exactly what UBS did, yet the

   15   plaintiff is accusing UBS of fraud for doing due

   16   diligence based on sampling, looking at adversely

   17   selected loans, determining that even though there were

   18   some poorly -- you know, some loans that were missing

   19   documents and other issues, that that wasn't evidence

   20   that UBS made a -- knowingly made a false statement to

   21   investors when it said that these loans were done in

   22   accordance with underwriter guidelines.

   23                So, you know, that's just one example. There's

   24   -- I could go on, and on, and on to give you examples of

   25   why we think the publicly available documents that we




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    1   found that HUD and Treasury have, are directly relevant

    2   to the allegations of this complaint.

    3                THE COURT:     Okay.    So if you have those

    4   publicly available documents, what exactly are you

    5   looking for that is not public.

    6                MR. GIUFFRA:     Well, obviously that's -- we

    7   think that's just the tip of the iceberg, and obviously

    8   there must be other documents within HUD that go beyond

    9   the documents we found within HUD that relate to these

   10   mortgage originators and HUD audits of those mortgage

   11   originators in addition.

   12                One of the arguments that the plaintiff makes

   13   in this case is that somehow UBS is literally responsible

   14   for the financial crisis and the government has done

   15   analysis of causes of the financial crisis.

   16                THE COURT:     Right, and I'm looking at your

   17   group category four, treasury analysis of the causes of

   18   the financial crisis, so you're -- I guess I am not sure

   19   what exactly you're seeking here.

   20                MR. GIUFFRA:     What we're saying, your Honor, is

   21   we would like to have the opportunity to meet and confer

   22   with the government, and discuss the scope of a

   23   reasonable, and proportionate document collection, and --

   24   will saving and then maybe production, and then

   25   production exercise.




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    1                What the government is saying or the plaintiff

    2   is saying in this case is they have no obligation to go

    3   beyond the Eastern District of New York and the Northern

    4   District of Georgia in terms of, you know, producing

    5   documents to us.

    6                THE COURT:     Okay.    So --

    7                MR. GIUFFRA:     And the --

    8                THE COURT:     -- all your -- that's why when you

    9   just said that, I heard something different.              You're just

   10   asking for the opportunity to meet and confer and come up

   11   with some document requests.          You're not actually making

   12   these requests now.

   13                MR. GIUFFRA:     Well, first we want to deal with

   14   preservation.      Right now, they're taking the position

   15   they don't even have to preserve the documents.

   16                THE COURT:     Well, but preservation already

   17   requires identification of at least the scope of the

   18   preservation.

   19                MR. GIUFFRA:     That is --

   20                THE COURT:     So what is the scope of the

   21   preservation you're seeking?

   22                MR. GIUFFRA:     Well, your Honor, we had

   23   identified in our May 7th letter, which I think was

   24   appended to the materials we gave the Court.              That would

   25   be Exhibit 5 to our original motion to compel.




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    1                And in that document, if --

    2                THE COURT:     I'm trying to find it now.         I'm

    3   looking at your motion to compel, which is document 45.

    4                MR. GIUFFRA:        Yes.

    5                THE COURT:     And where is the May 7th letter?

    6                MR. GIUFFRA:        45-5, it is.

    7                THE COURT:     5.    Okay.    So this is the scope of

    8   the preservation --

    9                MR. GIUFFRA:        And so what we have done in an

   10   attempt to try to be -- you know, to try to be as

   11   specific and as particularized as possible, I think it's

   12   important to remember, the government was able in this

   13   case to go out and send subpoenas to whomever they wanted

   14   for four years before they brought this case.              This is

   15   our first opportunity to gather evidence.

   16                And so what we've done is we've particularized

   17   from pages 3, all the way to 10, the types of documents

   18   that we're interested in.          We even identify in footnote 2

   19   in this letter, particular human beings; you know,

   20   regional inspector general for audit-Boston, regional

   21   inspector general for audit-New York, Philadelphia, and

   22   on and on, particular human beings that we have been able

   23   to identify who we think are likely to have relevant

   24   documents for purposes of this case.

   25                THE COURT:     Okay.       So on page 3, you say these




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    1   are only examples.       So is this the scope of what you're

    2   seeking to preserve?

    3                MR. GIUFFRA:     Obviously, we don't know the full

    4   extent of what the government has.            We're doing this sort

    5   of in a backwards way.        Normally, you serve a discovery

    6   response, and you ask for particular categories of

    7   documents, and then there's a process.

    8                What we're doing is we've gone above and beyond

    9   that.   We've actually, you know, gone through publicly

   10   available information, found documents that we think are

   11   relevant, and we're saying these are the types of

   12   documents that we think are responsive to our broader

   13   request, and let's -- and can you number one, preserve

   14   them, and number two, produce them.

   15                THE COURT:     Okay.    But again, I'm just trying

   16   to understand what exactly you're asking for.              If these

   17   are only examples, then you're asking them to preserve a

   18   lot more than you've enumerated.

   19                MR. GIUFFRA:     No, these are what we know of.

   20                THE COURT:     Okay.    But --

   21                MR. GIUFFRA:     And so this would be a first step

   22   in terms of what we think that should be preserved in

   23   this case.

   24                THE COURT:     Okay.    So you're saying that --

   25   when you say only examples, you mean that you'll give




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    1   further examples at a later date.

    2                MR. GIUFFRA:     Or if they produce documents to

    3   us, and then we see oh, that they're -- that's a place

    4   that you can go.

    5                THE COURT:     Right.    But you're not asking them

    6   to preserve something that you don't know.

    7                MR. GIUFFRA:     No, not at all.

    8                THE COURT:     All right.

    9                MR. GIUFFRA:     And I think that's important.

   10   We've tried to be specific.          So for example, your Honor,

   11   on this whole question of, if you look on page 4, we talk

   12   about HUD's FHA insurance program.            There's no dispute

   13   that HUD insured lenders against losses on mortgages.

   14   The lenders that were insured included Countrywide.

   15   Countrywide was a large loan originator.             It was an

   16   originator that government agencies dealt with, and in

   17   order to get that insurance, they had to participate in a

   18   certification process that was governed by HUD, and HUD

   19   had all these inspectors who were out looking at

   20   Countrywide loans.

   21                And in our view, at the same time UBS was doing

   22   due diligence of Countrywide loans, HUD inspectors were

   23   looking at Countrywide loans, and continuing to allow

   24   those loans to be subject to --

   25                THE COURT:     So if HUD says they're okay, then




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    1   they're okay.

    2                MR. GIUFFRA:     Well, I think that's certainly

    3   evidence that would be something that in a trial, you

    4   would want to present to a jury.           And obviously, you

    5   know, this whole question about is an admission, I think

    6   it obviously matters that if the plaintiff includes HUD,

    7   we would say well HUD did audits of Countrywide, we did

    8   audits of Countrywide.        HUD did not see any reason not to

    9   continue FHA insurance for Countrywide.

   10                THE COURT:     So you're saying those things match

   11   up or that this is just additional evidence to bolster

   12   your client's position that things are okay?

   13                MR. GIUFFRA:     I --

   14                THE COURT:     And I am just trying to figure out

   15   because the audits could be done in a different way.

   16   They could be looking for different things, insurance

   17   coverage is maybe --

   18                MR. GIUFFRA:     Your Honor?

   19                THE COURT:     -- a different standard from

   20   liability in this case.

   21                MR. GIUFFRA:     Your Honor?

   22                THE COURT:     I'm just trying to figure out how

   23   you're saying it would match up.

   24                MR. GIUFFRA:     Okay.    It certainly goes to

   25   scienter, which is, you know --




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    1                THE COURT:     Your client's scienter?

    2                MR. GIUFFRA:     Yes, I think so, because if they

    3   don't --

    4                THE COURT:     Does your client know about the

    5   audits that FHA did?

    6                MR. GIUFFRA:     But if you had government lawyers

    7   or government investigators or audit-type people, who are

    8   doing due diligence for purposes of FHA insurance in

    9   exactly the same way, or in the similar way to the way

   10   UBS was doing due diligence, and the plaintiff is

   11   accusing UBS of engaging in fraud, and we're coming to

   12   the same conclusions at the same moment in time, I think

   13   that's evidence that a jury would want to hear.

   14                THE COURT:     But that doesn't go to scienter.

   15   Scienter would only be if your client knew about it.                If

   16   your client knew about these government audits and relied

   17   on it, then maybe there's an argument to be made, in

   18   which case your client already knows about it.

   19                MR. GIUFFRA:     No, it would --

   20                THE COURT:     But if the client didn't know about

   21   it, how does it touch on their scienter?

   22                MR. GIUFFRA:     It would because if the

   23   government was concluding -- they were looking at these

   24   while --

   25                THE COURT:     They happen to come to the same




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    1   conclusion is not scienter.

    2                THE COURT:     But the evidence is obviously not

    3   direct but the point is that if the government is doing

    4   an audit, looking at specific loans, and seeing that some

    5   of those loans, for example, are missing documents or

    6   have certain deficiencies but concluding that

    7   nevertheless, Countrywide's loans satisfy HUD guidelines,

    8   we think that's --

    9                THE COURT:     For insurance.

   10                MR. GIUFFRA:     For insurance.       We think that's

   11   relevance in terms of whether when UBS was doing due

   12   diligence of HUD, UBS looking at and finding errors in

   13   the loans, understood that, you know, maybe that there

   14   wasn't an issue, and the representation that's at issue

   15   in the case, which is whether those loans comply with

   16   Countrywide's guidelines for originating those loans, was

   17   knowingly false.

   18                In addition, if --

   19                THE COURT:     But again, I'm still not sure how

   20   it touches on scienter.        If your client didn't know about

   21   what FHA was doing, how could there be any issue of

   22   scienter.     They happened to be doing things separately.

   23   The way you described it, they're doing things

   24   separately.     They just happen to come to the same

   25   conclusion, so --




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    1                MR. GIUFFRA:     Because the government's theory,

    2   and I would be happy to hand up our motion to dismiss,

    3   they don't name particularly human beings at UBS who they

    4   say had fraudulent intent.

    5                What they say is --

    6                THE COURT:     So only human beings can have

    7   fraudulent intent, not a company?

    8                MR. GIUFFRA:     Well, in fact, the law is you do

    9   need to have a human being that has fraudulent intent,

   10   and it's not just something you just sort of amorphously

   11   point to a company at large.

   12                But what they do is well, they say the due

   13   diligence results that UBS obtained showing that there

   14   were defects in these loans caused -- not negligence,

   15   that you made a mistake, but put UBS on in the view that

   16   it knew if it went forward, included some of these others

   17   -- included other loans, not even the loans that were

   18   looked at, in these RMBS transactions, that that

   19   confirmed that UBS or established that UBS had fraudulent

   20   intent, which is a pretty high standard.

   21                So they're looking at the actual due diligence

   22   process and what you did with the results from the due

   23   diligence process, in making the argument that they --

   24   that how UBS handled the due diligence process, and dealt

   25   with loans that had defects, that were not included --




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    1   the defective loans were not included in the overall --

    2   were not included in these transactions but they're

    3   inferring from that, that UBS should have known that or

    4   knew -- because should have known is a negligence

    5   standard, knew that the loans that are actually included

    6   in the loan pools were defective, and therefore that the

    7   representation was made in a knowingly false way.

    8                So our point is the fact that HUD was doing

    9   audits and in coming to the conclusion that whatever

   10   errors it was finding, using a similar methodology and

   11   doing sampling, and looking at adverse loans, and

   12   concluding that these originators still complied with HUD

   13   guidelines is relevant.

   14                Because if the plaintiff in a case is doing

   15   exactly what the defendant is allegedly doing, and the

   16   way the defendant did it was fraudulent, that certainly

   17   is something you would want the fact-finder to know.                And

   18   the government is saying no -- and again, you have -- the

   19   thing about this case is this is the first one of these

   20   cases that's actually ever been litigated, which is why

   21   you're sort of, you know, dealing with it on a clean

   22   slate but, you know, that's --

   23                THE COURT:     But the other cases have not gone

   24   through discovery?

   25                MR. GIUFFRA:     No.




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    1                THE COURT:     No.   All right.     Okay.

    2                MR. GIUFFRA:     Not the similar -- not the FIRREA

    3   cases, anyway, but then so your Honor, if you look at

    4   what we're talking about -- another argument the

    5   government makes --

    6                THE COURT:     Okay.

    7                MR. GIUFFRA:     -- is that --

    8                THE COURT:     So can I just pause there because I

    9   would like to give the government an opportunity to

   10   speak, and then I will get back to you, all right?

   11                MR. GIUFFRA:     Yeah.

   12                THE COURT:     So Mr. Hayes, why don't you tell me

   13   first, is it your client's position that the discovery is

   14   limited to the Northern District of Georgia and the

   15   Eastern District of New York, United States Attorney's

   16   Offices?

   17                MR. HAYES:     Good afternoon, your Honor.          I

   18   think I started off with morning, not an auspicious

   19   start, and I didn't mean to suggest that your Honor

   20   hadn't had a full day up to this point.

   21                The short answer to your question is yes, your

   22   Honor, and if I may, there are -- Mr. Giuffra has made a

   23   number of points, and I would like to address --

   24   elaborate on that point, and address some other points.

   25                First, Mr. Giuffra cited the Deane case.                I




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    1   don't know whether that's in UBS's unauthorized reply, or

    2   whether it's in UBS's initial letter, but it makes no --

    3                THE COURT:     I don't see it in the initial

    4   letter.

    5                MR. HAYES:     It makes no difference, your Honor.

    6   It actually is a FOIL and served to set in relief the

    7   irrelevancy of the documents that UBS is seeking.                In

    8   that case, a United States government program was a

    9   victim, as is always the case in a false claims act case.

   10                This case is nothing like that case.            The

   11   United States is not seeking damages in this case.                 And

   12   to get specific, it is not seeking any relief on the part

   13   of HUD, any relief on the part of the Treasury.

   14                In fact, your Honor, there are approximately --

   15   UBS securitized approximately 160,000 loans in the forty

   16   deals at issue in this case, 100 -- nearly 160,000 loans,

   17   not one of which was insured by HUD.            Not a single one of

   18   those loans is a government program loan.

   19                THE COURT:     Okay.    So it sounds like people are

   20   saying different things, and I don't want to get too into

   21   the weeds about this.        Mr. Giuffra said that the

   22   insurance was of Countrywide, not of the specific loans.

   23   And you're saying --

   24                MR. HAYES:     That is --

   25                THE COURT:     -- that loans had to be insured --




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    1                MR. HAYES:     Yeah.

    2                THE COURT:     -- separately.

    3                MR. HAYES:     There's no insurance at issue in

    4   this case.     There's no HUD insurance at issue in this

    5   case.   Not one of the nearly 160,000 loans securitized by

    6   UBS in the forty deals at issue in this case is an FHA

    7   insured mortgage.

    8                There's an entire huge government program

    9   called the "Direct Endorsement Program."             It's a HUD

   10   program.     It has myriad regulations and handbooks

   11   associated with it.       It is, in fact, is fascinating that

   12   UBS cites a single audit of ten loans from one branch of

   13   Countrywide in 2007.         When one thinks about the millions

   14   at Countrywide -- and this is -- the Court can take

   15   judicial notice of this.         The millions of loans that

   16   Countrywide originated, they're pointing to a document

   17   that concerns ten loans, in connection with a program

   18   that is completely unrelated to anything in this case at

   19   all.

   20                And to make it even clearer, the government has

   21   recovered approximately $2 billion in false claims act

   22   recoveries from Countrywide and Bank of America in

   23   connection with fraud committed by those entities on the

   24   government.

   25                None of that should be at issue in this case




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    1   but if it were, the government would say that Countrywide

    2   was a bad originator, and the difference here, your

    3   Honor, is not so much what -- whether Countrywide was a

    4   bad originator of loans, but what UBS said to its

    5   investors about Countrywide.          Those are two very

    6   different things, your Honor.

    7                THE COURT:     Okay.    So can we get back to the

    8   issue in this case 00 in this proceeding, which --

    9                MR. HAYES:     And I apologize, your Honor, but

   10   that goes to the relevancy which is a fundamental

   11   question regardless of what the scope of the government

   12   is, and whether they can get --

   13                THE COURT:     Yes.

   14                MR. HAYES:     Right.

   15                THE COURT:     Okay.

   16                MR. HAYES:     But the Deane case is about --

   17                THE COURT:     Yes, I understand that.

   18                MR. HAYES:     Yes.

   19                THE COURT:     So let me pose the same question

   20   that I posed to Mr. Giuffra a moment ago.             Are there

   21   cases that you can cite -- civil cases, not criminal

   22   cases, post AT&T, that go the other way?

   23                MR. HAYES:     We cited whatever cases we could

   24   find, your Honor.

   25                THE COURT:     Okay.    So for some reason, there's




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    1   a paucity of written decisions in this area.

    2                MR. HAYES:     Yes, your Honor, there's a paucity

    3   because courts understand that when the United States

    4   brings a case, when it's not bringing the case as a

    5   victim but on behalf of others, which can be done civilly

    6   as well as criminally, it's really not a question.

    7                THE COURT:     Well, are you -- so maybe I should

    8   ask you since you've brought up that distinction, are the

    9   United States Attorney's Offices bringing this on behalf

   10   of agencies, the --

   11                MR. HAYES:     No, your Honor.

   12                THE COURT:     They're bringing it on their own,

   13   as a --

   14                MR. HAYES:     Yes, your Honor.

   15                THE COURT:     -- freestanding enforcement action.

   16                MR. HAYES:     And if we can.      And I recognize,

   17   your Honor, I apologize for this that some of this will

   18   be representations to the Court which depending upon the

   19   Court's need, we can paper those things -- these

   20   representations up, but this is not a case brought on

   21   behalf of HUD.      There are no HUD loans.         This is not a

   22   case brought on behalf of Treasury.

   23                Mr. Giuffra referenced -- suggested that there

   24   was a press release or maybe more than one press release

   25   in which the government, presumably I guess he was




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    1   referring to this case, perhaps he wasn't but in any

    2   event --

    3                THE COURT:     Well, there is a press release

    4   attached.

    5                MR. HAYES:     -- there's no press release

    6   referring to HUD concerning this case.

    7                THE COURT:     Okay.

    8                MR. HAYES:     There's no press release concerning

    9   this case concerning HUD.

   10                THE COURT:     But I think Treasury was part of

   11   this.

   12                MR. HAYES:     It was not, your Honor.

   13                THE COURT:     No?

   14                MR. HAYES:     There's a reference to the

   15   Inspector General for the FHFA.           The FHFA is a quasi-

   16   independent agency that brought its own lawsuit against

   17   UBS, which UBS settled and FHFA brought that suit, and it

   18   wasn't the FHFA OIG that brought that suit, FHFA brought

   19   that suit through private counsel.

   20                With respect to -- look, there's been a

   21   reference to some suggestion -- there's been some

   22   suggestion, and if I can take 30 seconds to address this

   23   that the government has waived or misled UBS in

   24   communications.

   25                The first thing, and Mr. Giuffra wasn't on this




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    1   conference call, Mr. DeCamp was, the first thing we said

    2   with respect to the scope of executive branch discovery,

    3   which is incredibly broad -- if one looks at the

    4   definition of executive branch or government in this

    5   case, it's everything.

    6                And the first thing we said, and perhaps I was

    7   a little bit impolite, I said make a motion.              That's the

    8   very first thing we said.

    9                Now that said, we reconsidered because we're

   10   supposed to try to work these things out, and that will

   11   continue to be the government's approach to things.

   12                But that said, we went to HUD, and we went to

   13   Treasury.     And by the way, UBS went directly to HUD and

   14   Treasury.     There's an April 22nd letter that is addressed

   15   to my office but is also specifically copied to Treasury

   16   and to HUD.

   17                And UBS served a subpoena on HUD.           So the

   18   record here is a little bit more complicated with respect

   19   to how UBS viewed the government, at least procedurally.

   20   We think this kind of procedure doesn't matter a whole

   21   lot.   The question is what's the law?           And the government

   22   certainly hasn't waived.

   23                The fact that we've tried to revisit our

   24   initial flat-out denial that they're entitled to broad

   25   government discovery here doesn't mean that we have




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    1   ultimately waived our position, that there isn't just one

    2   government that the Department of Agriculture or

    3   whomever, because no matter what has been said here

    4   today, the request, and the document request, and the

    5   letters that have been submitted to the government make

    6   it clear that the proposed discovery, and the proposed

    7   litigation hold, is not limited to just HUD and Treasury.

    8                The government is supposed to figure out, the

    9   Northern District of Georgia, and the Eastern District of

   10   New York is supposed to figure out, we're supposed to

   11   divine what it is that UBS wants from the government.

   12   And we did speak to HUD and Treasury.            We did do that as

   13   we would speak to any agency that had received

   14   hypothetically a subpoena, in this case, a direct letter

   15   overture.

   16                And we asked well, can this be done?            Can you

   17   figure out from what UBS has provided to us, and we've

   18   provided all of UBS's letters to these agencies -- to

   19   these two departments, can you figure out what is it

   20   they're looking for?        And the answer is no, we can't

   21   figure out what we're looking for.

   22                And by the way, we had nothing to do with the

   23   forty securities at issue or any of the loan, the nearly

   24   160,000 loans at issue.        Your Honor has already had

   25   expressed the Court's views concerning the relevance to




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    1   this discovery, this one audit, or indeed any audit that

    2   could have been performed by HUD or frankly Treasury or

    3   any other government agency.

    4                This case is about the representations made to

    5   investors.     If the government hypothetically knows that

    6   there's a bad actor out there, which it eventually came

    7   to learn, and settled with Countrywide in 2012, and 2014,

    8   but if the government has come to learn that there's a

    9   bad actor out there, that doesn't mean that UBS isn't a

   10   bad actor too.

   11                And again, the HUD program at issue, any

   12   Treasury program has nothing to do with this case, and

   13   one can only imagine what a burden it would be for the

   14   district court if we were to have evidence concerning the

   15   HUD direct endorsement program whereby first-time

   16   homeowners, and those who have been foreclosed

   17   traditionally through discrimination, for example, from

   18   entering the housing market, have received insured

   19   mortgage loans, how that would have anything to do with

   20   this case, and do anything but obfuscate what's at issue

   21   in this case.

   22                Frankly, the government will make whatever

   23   motion in limine at trial it needs to make.              But in the

   24   meantime, the discovery that is being proposed here, well

   25   your Honor is aware that UBS has suggested that there




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    1   could be a 100 or 200 -- I forget the exact number of

    2   depositions, but this is the reason why, because they're

    3   proposing to take discovery from HUD, proposing to take

    4   discovery from Treasury, proposing to take discovery from

    5   whatever agency touched housing policy, touched mortgage

    6   policy, touched any of these originators, when none of

    7   that has anything to do with the representations that UBS

    8   made to its investors.

    9                If HUD knew, Treasury knew, Agriculture knew,

   10   NASA knew, that Countrywide was a bad originator, well

   11   then the question is not so much whether the government

   12   knew, but what did you UBS knew, and what did UBS tell

   13   investors.     And that's what this case is about, with all

   14   due respect.

   15                There's been some discussion here about this

   16   application being limited to a hold.            We have not

   17   understood that.       We've understood this is a motion to

   18   compel documents.

   19                And the -- and there's also, your Honor, if I

   20   can just shift gears for a second because frankly we're

   21   disappointed that UBS is bringing up a matter that has

   22   not been subject to final meet and confer, but that's not

   23   the first time that has happened.           The last time it

   24   happened concerns loans that are at issue in this case,

   25   that are in UBS' possession, and the government is now




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    1   going to the sources of those loans, the originators of

    2   those loans, to get those loans, even though UBS has

    3   that.

    4                That was brought up to your Honor in the last

    5   conference without a meet and confer.            Today, without a

    6   final meet and confer, UBS has brought up what can

    7   certainly be correctly characterized as a planet-sized

    8   issue.    And that is, the 106 terabytes of documents

    9   obtained by many United States Attorney's Offices in

   10   investing -- in investigating UBS' competitors.               106

   11   terabytes is approximately two-thirds of the entire

   12   volume of all material in the Library of Congress.

   13                A quick Google search shows that that is 50,000

   14   trees worth of documents.         All right?     We investigated

   15   and settled the case for billions of dollars against

   16   Citibank.     We investigated and settled a case against

   17   Deutsche Bank for billions of dollars.             We investigated

   18   case against Credit Suisse and settled it for billions of

   19   dollars.    We can go on.

   20                Every single -- any bank issuing RMBS has been

   21   investigated by -- of any significance, has been

   22   investigated by the United States.           And they've all

   23   settled by the way but what is the relevance of those

   24   documents to these case -- this case.

   25                Now that is not before your Honor.           The only




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    1   reason why the government has brought that up is because

    2   Mr. Giuffra chose to bring that up today.             Now we can

    3   perhaps have that meet and confer before your Honor or we

    4   can do what we're supposed to do, which is to finish that

    5   meet and confer between the parties, and then bring any

    6   dispute to the Court.

    7                There are a few other issues, your Honor.

    8                THE COURT:     Well, I want to stay focused on

    9   what's before me today.        So there are a couple of ways I

   10   can go about this.       My -- I guess the first thing is an

   11   observation which is one of the things I said earlier on,

   12   which is I am disappointed that the communication between

   13   the parties is not better.         That the defendant would take

   14   some silence to be a concession or a waiver, does not

   15   seem, as I said earlier, the way to litigate a case.

   16                The fact that Mr. Hayes, you feel the meet and

   17   confers did not take place or were not complete, is also

   18   disappointing to hear because I think the parties should

   19   be trying to work these things out.

   20                I don't think the parties, or at least one

   21   side, and you won't know which one, will be disappointed

   22   if you make me make the decisions for you.             You know your

   23   case better -- your respective cases better than I, and

   24   so whatever decision I make, even if I think I am right

   25   based on what I know, and what I am hearing, and seeing,




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    1   is going to disappoint one or the other of you.

    2                So you really don't want me to have to make

    3   those decisions.       So to the extent you can work things

    4   out, that is a better course for you going forward.

    5                MR. GIUFFRA:     We agree 100 percent, your Honor,

    6   and we've been trying to do that.

    7                THE COURT:     Okay.    So well, for whatever

    8   reason, you both don't seem to be meeting.              So maybe I

    9   should just adjourn this conference and let you stay in

   10   this courtroom, and work things out, and talk some more,

   11   and I'll come back in an hour, and you can tell me what

   12   you've been able to thrash out.           Is that how I should

   13   proceed?    I don't understand why there's a disagreement

   14   about the degree of communication that's happening

   15   between the parties.

   16                MR. GIUFFRA:     Your Honor, I think the main

   17   issue we have today is whether the government should have

   18   to preserve certain documents that HUD and Treasury have.

   19   That's the issue that we are here about.             And --

   20                THE COURT:     So as far as the meet and confers,

   21   what -- so Mr. Hayes, what is it that you have been able

   22   to thrash out before today that is necessary for today's

   23   hearing.

   24                MR. HAYES:     Actually, your Honor, and I

   25   apologized if I suggested that the issue of executive




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    1   branch discovery has not been conferred about because we

    2   think it has.

    3                THE COURT:     Okay.

    4                MR. HAYES:     The --

    5                THE COURT:     So for this issue, you've already

    6   met and conferred.

    7                MR. HAYES:     We believe so.

    8                THE COURT:     So then let's proceed with today's

    9   hearing, and then after this, I would urge the parties to

   10   stay and talk about any other issues you may have.

   11                MR. HAYES:     And if I -- just thirty seconds,

   12   your Honor, the only thing that the government would ask

   13   is that -- and your Honor indicated and perhaps we

   14   misheard, that your Honor had looked at, and read, I

   15   think it's the June 7th unauthorized reply.

   16                And if arguments made in writing, and the cases

   17   cited there would be outcome determinative of this issue

   18   today, the government would ask if it could in writing,

   19   brief that.

   20                THE COURT:     Okay.    So this is what I am going

   21   to do today.

   22                MR. GIUFFRA:     Your Honor, can I respond to the

   23   arguments he made because he misstated a number of

   24   things.

   25                THE COURT:     Are they important to know --




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    1                MR. GIUFFRA:     I think so.

    2                THE COURT:     -- for today's proceeding?

    3                MR. GIUFFRA:     I think so.

    4                THE COURT:     All right.

    5                MR. GIUFFRA:     First, you know, again, we would

    6   agree to limit the hold, just so we're clear about it, to

    7   the HUD -- to HUD and Treasury, and the documents we

    8   identified in the May 7th letter, which are highly, you

    9   know, particularized and identified.

   10                Number two, he's suggested that the money that

   11   they're trying to seek is going to some nebulous party.

   12   It's going to the United States Treasury as a penalty.

   13   It's not going to investors in these RMBS, which were

   14   highly sophisticated entities.           He mentioned the FHFA

   15   case. That was not a fraud case.           That was a strict

   16   liability case.

   17                He mentioned service of a subpoena on HUD and

   18   Treasury.     That was done inadvertently, and we called

   19   them up as we were doing the 300 subpoenas that we sent

   20   out, it was to preserve documents.           It was inadvertently

   21   included in that.

   22                But I think the bigger point, your Honor, and

   23   if you would like, I could give the Court, this goes

   24   through the documents and actually goes through the

   25   relevant allegations that they make and shows why the




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    1   documents are relevant.

    2                THE COURT:     The documents of what?

    3                MR. GIUFFRA:     The documents that we would like

    4   to have preserved that are at HUD, and Treasury.

    5                THE COURT:     Okay.    So I --

    6                MR. GIUFFRA:     And so the --

    7                THE COURT:     What is that?

    8                MR. HAYES:     Your Honor, we don't know what this

    9   is.

   10                THE COURT:     Yeah, I don't either.

   11                MR. GIUFFRA:     I'm going to give both of you it.

   12   It's --

   13                THE COURT:     Well, tell me what it is for the

   14   record.

   15                MR. GIUFFRA:     It's examples of HUD and Treasury

   16   documents that we --

   17                THE COURT:     On the public record.

   18                MR. GIUFFRA:     -- on the public record, and it

   19   excerpts on the center of the document, and what the

   20   document is.     And on the right-hand side, it quotes the

   21   allegations of the complaint that we think it's relevant

   22   to.

   23                THE COURT:     Okay.    So I will just consider

   24   this --

   25                MR. HAYES:     Your Honor, we have never seen




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    1   this.

    2                THE COURT:     Yeah, I know.

    3                MR. DECAMP:     Your Honor, if I may?

    4                THE COURT:     And I am not going to consider this

    5   document.     I am just receiving it.

    6                MR. DECAMP:     If I may just explain, your Honor,

    7   what that is.      The letters that we included --

    8                THE COURT:     So Mr. Giuffra didn't explain it

    9   adequately?

   10                MR. DECAMP:     I mean the letters --

   11                THE COURT:     It is what it is.

   12                MR. DECAMP:     The letters that we attached to

   13   the Court, we didn't want to burden the Court, they were

   14   exhibits to the letters that we had given to Mr. Hayes.

   15   So Mr. Hayes has seen these documents.            He can't profess

   16   not to have seen them before.

   17                THE COURT:     I don't think he's professing not

   18   to have seen the documents.         He didn't know what the

   19   documents were he was being handed.

   20                MR. DECAMP:     What we have done is we've -- this

   21   is a compilation of exhibits to the meet and confer

   22   letters.    We didn't attach all of the exhibits, the

   23   materials that we gave to the Court.            So therefore it

   24   needs to be -- this is a way for the Court to basically

   25   look at everything.




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    1                So for example, if you look on Countrywide,

    2   okay, which is --

    3                THE COURT:     So this document does not have a

    4   cover page.     It just has "Examples of HUD and Treasury

    5   Documents", that is the title.

    6                MR. DECAMP:     Correct.

    7                THE COURT:     K.

    8                MR. DECAMP:     And --

    9                THE COURT:     So I am just going to have it

   10   marked as an exhibit for today's purposes, Defendants'

   11   Exhibit 1.

   12   (Defendants' Exhibit marked for identification.)

   13                MR. HAYES:     And your Honor, we don't have

   14   these --

   15                THE COURT:     I know that.     You have --

   16                MR. HAYES:     -- this work product description,

   17   your Honor.

   18                MR. GIUFFRA:        That's true, they don't.      They

   19   don't have that.

   20                THE COURT:     You have a copy of it now.         I am

   21   not going to make any decisions based on it today because

   22   I have not seen it either.

   23                MR. HAYES:     Thank you, your Honor.

   24                THE COURT:     So Mr. Giuffra, what did you want

   25   to say about this?




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    1                MR. GIUFFRA:     The point I am making, if your

    2   Honor would just cite one example, which is the

    3   Countrywide example, which I think Is an important one.

    4                THE COURT:     What page are we talking about?

    5                MR. GIUFFRA:     This is on page 2.

    6                THE COURT:     Tab 2 or Page 2?

    7                MR. GIUFFRA:     Page 2.

    8                THE COURT:     All right.

    9                MR. GIUFFRA:     It's just a summary.

   10                THE COURT:     There are items 4, 5, 6, and 7.

   11                MR. GIUFFRA:     Yeah, so item 5.

   12                THE COURT:     Okay.

   13                MR. GIUFFRA:     The allegation in the complaint

   14   at paragraph 201 to 203, and obviously a defendant is

   15   entitled to seek discovery in order to meet the

   16   allegations of a complaint.

   17                The allegations of the complaint are that we

   18   "contradicted its representation -- UBS contradicted its

   19   representations" when it "purchased and underwrote -- or

   20   underwrote thousands of loans from" originators such as

   21   Countrywide, and "represented" that UBS "only dealt with

   22   reputable established originators."

   23                Now there's no question if you look further in

   24   the complaint that for thirteen of the forty are UBS, UBS

   25   dealt with Countrywide.         Well, the reason why we need the




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    1   additional documents reflecting HUD's interactions with

    2   Countrywide is because HUD approved Countrywide for FHFA

    3   insurance.     They did their own, as it says here, they

    4   were annually recertified.          They're subject to onsite

    5   evaluations, subject to reviews of individual loans, and

    6   if you just look at the next allegation in the complaint,

    7   they claim that we somehow did something wrong in taking

    8   into account adverse selection in identifying loans in

    9   the course of our -- in UBS's due diligence.

   10                And then FHA when it did its analysis, also

   11   looked at perceived risks of loans in deciding which ones

   12   to review.

   13                Then, you know, HUD relied on third parties.

   14   So did UBS in doing its due diligence.            So --

   15                THE COURT:     Okay.    So let me just try to

   16   understand what you're saying.          The first column is the

   17   document, the public you've identified.

   18                MR. GIUFFRA:     Correct.

   19                THE COURT:     The second column are excerpts from

   20   that document.      The third column are the allegations in

   21   the complaint, which you think those excerpts speak to.

   22                MR. GIUFFRA:     Correct.

   23                THE COURT:     Okay.

   24                MR. GIUFFRA:     And --

   25                THE COURT:     But this document -- this chart




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    1   anyway, does not indicate what further you're seeking

    2   that is relevant.

    3                MR. GIUFFRA:     No, and what we're seeking, your

    4   Honor, and just -- I want to try to simplify this as much

    5   as possibly can.      We've gone through the public record in

    6   the letter which I do believe is attached to your

    7   materials, which is the May 7th letter, we identify

    8   specific categories of documents, and specific human

    9   beings who we think have documents that we think are

   10   relevant --

   11                THE COURT:     Okay.

   12                MR. GIUFFRA:     -- allowing us to --

   13                THE COURT:     And did you meet and confer with

   14   the government about those particular requests?

   15                MR. GIUFFRA:     Yes, we did.

   16                MR. HAYES:     Yes, we know that they want

   17   documents from Timothy Geithner, your Honor.

   18                THE COURT:     Okay.

   19                MR. HAYES:     And, your Honor, again what this

   20   seems to be is laying a foundation for trial.              And

   21   there's no answer in this case.           There's no articulated

   22   defense.    You've heard suggestions about causation.

   23   There's no cases.

   24                But in any event, this seems to be a question

   25   of the government knew that Countrywide or who knows how




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    1   many other originators, was a bad originator, or believed

    2   that it was a good originator.

    3                This is something that UBS doesn't know one way

    4   or the other about, and it sounds like it's an estoppel

    5   argument ultimately.        The government can't bring this

    6   case and seek penalties that would go to the Treasury,

    7   your Honor -- fair enough, that's like a criminal file.

    8   But the government can't bring a case against UBS because

    9   some component thought that Countrywide was okay.                And I

   10   might add, well if that's okay, then let's bring out the

   11   2012 national mortgage settlement in which the government

   12   obtained $1 billion in damages under the False Claims Act

   13   and Consumer Relief, and the August 2014 global

   14   settlement of claims against Bank of America which

   15   included Countrywide, and which the government obtained

   16   well over another billion dollars in damages against

   17   Countrywide.

   18                So the government was a victim, and brought

   19   cases or resolved prospective cases concerning that.                 And

   20   none of that has anything to do with UBS at all, and the

   21   representations that it made -- that it made to investors

   22   about these loans in the forty deals at issue in this

   23   case.

   24                MR. GIUFFRA:     Your Honor, I think it's

   25   directly --




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    1                THE COURT:     Well, I --

    2                MR. HAYES:     Timothy Geithner knows nothing

    3   about any of this.

    4                MR. HAYES:     Your Honor, if that's --

    5                THE COURT:     Okay, so let me -- before going

    6   forward, so I don't think I have enough information today

    7   to make a decision, and there are two things at issue

    8   here.   So I am going to ask for further briefing, okay?

    9   So the first question is this executive branch discovery

   10   issue which as I've noted, I haven't found any case law,

   11   the parties haven't given -- haven't found much case law

   12   in this area, if you want me to make a decision on that,

   13   then you should tell me more and giving me arguments and

   14   citations on that issue.

   15                The second point are the specifics of what's

   16   being requested here.        So if the defendant is asking for

   17   specific -- defendants rather, are asking for specific

   18   types of documents, then I want to know what those are,

   19   and what the relevance is, all right?

   20                MR. GIUFFRA:     We will do that.

   21                THE COURT:     And I would urge the parties to

   22   meet and confer specifically on those things, so that

   23   there's no question about whether these are examples or

   24   the actual requests.        So the fact that the parties came

   25   in here today, not even sure about that point, is




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    1   troubling to me, okay?

    2                So that means that you haven't really

    3   adequately met and conferred if it's still ambiguous,

    4   whether you're citing examples or you're saying that

    5   these are, in fact, the requests.           So this is an example

    6   from my mind, of why the parties aren't communicating

    7   well.   Okay?

    8                So I want you to meet and be clear about what

    9   exactly you're looking for, and then I will allow you to

   10   make your relevance argument, and then there can be a

   11   proportionality argument because one of the defenses to

   12   the subpoena is that there's an undue burden, and so that

   13   may be one of the reasons in addition to what Mr. Giuffra

   14   mentioned at the outset for why you would prefer to have

   15   a Rule 34 discovery, as opposed to a subpoena.

   16                On the other hand, the Federal Rules of Civil

   17   Procedure were recently amended to require a

   18   proportionality analysis by the Court.             And so I will

   19   permit or I would request that the parties give me enough

   20   information as to the need for that information, versus

   21   the burden, okay?

   22                I don't know how long this is going to be

   23   because there's going to be a lot of particular -- it

   24   seems from the outset like there are a lot of documents,

   25   and so I may regret this but I am not going to put a page




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    1   limit on it, but I am going to say that it doesn't do the

    2   parties any good to go on, and on, and repeat.

    3                So if you've got specific requests, and I don't

    4   want you to remove margins from pages, and so I will just

    5   let you use your good judgment in terms of how much you

    6   need to make your argument, get in and get out.               All

    7   right?

    8                Because if you go on and on, you're likely to

    9   talk me out of ruling in your favor, all right?               But I

   10   will allow you to go on -- to use more than the normal

   11   number of pages because there may be many requests that

   12   you need to make, all right?          And if there are similar

   13   arguments, you can just say same argument as before, but

   14   I do want to point out that because there has been no

   15   answer in this case, it is going to be a little bit

   16   difficult for me to really argue -- to see the relevance,

   17   and so it may be we're putting the cart before the horse,

   18   and we may end up making -- having these discussions

   19   about whether estoppel would be a valid answer.

   20                So if there had been answer already filed,

   21   there could have been a motion to strike affirmative

   22   defenses, and things like that and so we may end up

   23   getting into those discussions as part of whether it's

   24   relevant, right?       Because if a particular defense is not

   25   permitted, and it would be stricken in the normal course,




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    1   then by virtue of that, whatever is needed for that

    2   defense would be irrelevant.

    3                So I fear that all of this is getting a little

    4   bit mushy but I just put it out there to let you know of

    5   some of the difficulties that I may encounter in

    6   assessing what you present to me.

    7                So, Mr. Giuffra, if you want to show your hand

    8   a little bit, and state what some of those affirmative

    9   defenses are as you say why something is relevant, that

   10   may be helpful, as well.         All right?

   11                MR. GIUFFRA:     We can easily do that, your

   12   Honor.

   13                THE COURT:     Okay.    So --

   14                MR. GIUFFRA:     And what we will do, as we

   15   endeavor to do in the document I handed up, we will

   16   literally cite paragraphs of the complaint, and show why

   17   we think specific documents are relevant.             We'll try to

   18   do -- we think this should be done in two weeks because

   19   we're actually concerned about the spoliation issue

   20   because we've been going back and forth on this for a

   21   number of months.

   22                THE COURT:     All right.       So I will put some

   23   deadlines on this.

   24                MR. HAYES:     And your Honor -- and as your Honor

   25   looks for a date, the government asks whether this -- we




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    1   presume that this is the case but whether this would

    2   follow the usual course as outlined in the Court's rule

    3   where UBS would submit something.           The government would

    4   respond.    And then that would be it.

    5                THE COURT:     I think since we have thrashed out

    6   this issue that may be all that's necessary here, and

    7   like I said, I'm not putting page limits on it, so make

    8   your best arguments, get in and get out.

    9                MR. HAYES:     And no reply, your Honor.

   10                MR. GIUFFRA:     Well, the only thing I am

   11   concerned about, your Honor --

   12                THE COURT:     Well --

   13                MR. GIUFFRA:     -- is in terms of the -- you

   14   raised two issues; one is the relevance issue, which is

   15   we'll give you a document which will explain the

   16   relevance.     I presume we do it in a chart format.

   17                THE COURT:     All right.     So then this is what I

   18   will do.    I will permit -- again, this will be a little

   19   bit out of my normal procedure, I will put a deadline for

   20   the motion, which will be the motion to -- fully-briefed

   21   motion to compel, which like I said, will have the two

   22   parts, the executive branch discovery, and the relevance

   23   as to specific requests.

   24                I will put down a deadline for a response.              I

   25   will allow a reply, and I will allow a surreply.               And




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    1   then that's it.      So everybody gets two chances.

    2                MR. HAYES:     Thank you, Judge.

    3                THE COURT:     All right.     So that will clear up

    4   any ambiguities about who is allowed to file what, when.

    5                So Mr. Giuffra, you said you'll file yours in

    6   two weeks, which will be July 15th.            Mr. Hayes, how much

    7   time do you need?

    8                MR. HAYES:     Two weeks, your Honor.

    9                THE COURT:     All right.     And that will be July

   10   29.   And then after that?

   11                MR. GIUFFRA:     One week, your Honor.

   12                THE COURT:     July -- oops, now we're getting

   13   into August.

   14                MR. GIUFFRA:     Unless it's on a Saturday or

   15   Sunday?

   16                THE COURT:     No, it's one week --

   17                MR. GIUFFRA:     It wouldn't be.       We'll be okay.

   18                THE COURT:     One week --

   19                MR. HAYES:     One week from a weekday.

   20                THE COURT:     -- from a weekday is always a

   21   weekday.

   22                MR. GIUFFRA:     Is always going to be a weekday,

   23   so it will fine.

   24                THE COURT:     August 5th.

   25                MR. GIUFFRA:     And then the 12th.




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    1                THE COURT:     And then August 12th.

    2                MR. HAYES:     Thank you, Judge.

    3                THE COURT:     All right.     So I urge everybody to

    4   be working -- moving expeditiously.            I see that there may

    5   be a large volume, but I trust that everybody has already

    6   gotten a good sense of what is at issue here, so the time

    7   for you to file these papers should not -- this should

    8   give everybody enough time, and I also think given that

    9   you've all agreed to these dates, that there won't be any

   10   vacations or other things that get in the way.

   11                So I will have this all fully briefed by August

   12   12th, and I will look at it and see how long it takes for

   13   me to come up with something.          I will try to move

   14   quickly.    I can't guarantee I will send it to you by the

   15   end of August, but I will do my best, and if not, then

   16   certainly, I will get it to you by September, okay?

   17                MR. HAYES:     Thank you, your Honor.        And, your

   18   Honor, the government has one additional thought.

   19                THE COURT:     Okay.

   20                MR. HAYES:     There was another case in this

   21   district, the case United States v. Barclays before Judge

   22   Matsumoto, and before Magistrate Judge Orenstein.                There

   23   was discovery in that case, and one of the things that

   24   the magistrate judge felt would be appropriate and help

   25   set the table and provide structure for the discovery,




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    1   was to require Barclays to file an answer statement.                The

    2   government refers your Honor to the docket in that case

    3   for possible consideration in this case.

    4                THE COURT:     Okay, thank you.       It is sort of

    5   what I alluded to in my statement to Mr. Giuffra, that in

    6   making your arguments as to relevance, you may have to

    7   tip your hand and say what your answers will be.

    8                MR. GIUFFRA:     Fine, your Honor.

    9                THE COURT:     Would you prefer to make a

   10   statement of your answer?

   11                MR. GIUFFRA:     No, I think we would like to wait

   12   because we have a fully briefed motion to dismiss.                I'm

   13   happy to give the Court a copy of everyone's briefs.

   14                THE COURT:     I can get it on the docket.

   15                MR. GIUFFRA:     Yeah.    And I think it's --

   16                THE COURT:     Although if you have a copy, maybe

   17   a courtesy copy would be useful.

   18                MR. GIUFFRA:     Do we have a copy?

   19                MR. DECAMP:     Yes.

   20                MR. HAYES:     There was a motion to dismiss

   21   pending in the Barclay's case at the time that Magistrate

   22   Judge Orenstein made his ruling in that case, your Honor.

   23                THE COURT:     Okay, that's fine.       All right.     But

   24   having a courtesy copy is useful.

   25                MR. GIUFFRA:     Well, your Honor, there's a




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    1   difference that in the Barclay's case as I recall, there

    2   were individuals named as defendants.            There's no

    3   individual named here.

    4                THE COURT:     All right.     So I will have -- I

    5   have access to the docket.

    6                MR. GIUFFRA:     And that's among other things --

    7                THE COURT:     So I will look it up, and it is

    8   useful to me.      Our judicial system functions well on

    9   precedent.     So having guidance, even if it's not binding,

   10   having guidance from great minds who have considered this

   11   issue before me would be helpful as I move forward.

   12                All right.     So I will look for those filings,

   13   and reserve my decision until that point.             If there's any

   14   ambiguity, I will ask to have a brief conference to clear

   15   things up with the parties but otherwise, I think what

   16   you've provided me today, and what you will provide to me

   17   in the papers should be sufficient.

   18                MR. HAYES:     And your Honor just because we're

   19   here, procedurally we just want to let the Court know

   20   that we've been complying as of course we must with the

   21   Court's procedural orders.         The parties have exchanged

   22   interrogatories, the government has responded, UBS will

   23   be responding to the government's interrogatories

   24   shortly, and the parties have exchanged settlement

   25   position letters.




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    1                THE COURT:     Okay.    Great.    And so you should

    2   keep moving forward, and be mindful of whatever deadlines

    3   may be looming.      If you need extensions, I m very

    4   reasonable but you need to make the request in advance

    5   and give me a good reason, all right?

    6                Speaking of settlement, you should let me know

    7   if at any point you think having a settlement conference

    8   would be useful, but otherwise, does the government -- is

    9   the government open to mediation in this case or --

   10                THE COURT:     We would be -- sometimes government

   11   entities are not.

   12                MR. HAYES:     The United States is always willing

   13   to engage in settlement negotiations, and certainly any

   14   negotiations that would be assisted by the Court would be

   15   welcome.

   16                THE COURT:     All right.     So the parties should

   17   confer and if you agree, because settlements are only

   18   effective if there's agreement, if you agree, then I am

   19   open to scheduling a settlement conference or making a

   20   referral to the Court annexed mediation.

   21                Is there anything else, Mr. Harris?

   22                MR. HAYES:     Nothing from the government, your

   23   Honor.

   24                THE COURT:     Mr. Giuffra?

   25                MR. GIUFFRA:     Nothing from UBS, your Honor.




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    1                THE COURT:     All right.

    2                MR. GIUFFRA:     Thank you so much.

    3                THE COURT:     Thank you, everybody.

    4                MR. HAYES:     Good afternoon, your Honor.

    5                      (Matter concluded)

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    1                                 I   N   D   E   X

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    3                             E   X   H   I   B   I   T   S

    4

    5   Defendants' Exhibits Marked for Identification:

    6   Number    Description                                      Page

    7   1         Examples of HUD and Treasury documents                42

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                    C    E    R    T    I   F    I    C    A    T   E



                     I, LINDA FERRARA, hereby certify that the

        foregoing transcript of the said proceedings is a true

        and accurate transcript from the electronic sound-

        recording of the proceedings reduced to typewriting in

        the above-entitled matter.



                     I FURTHER CERTIFY that I am not a relative or

        employee or attorney or counsel of any of the parties,

        nor a relative or employee of such attorney or counsel,

        or financially interested directly or indirectly in this

        action.



                     IN WITNESS WHEREOF, I hereunto set my hand this

        2nd day of July, 2019.




                                       AAERT CET**D 656
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